     Case: 1:23-cv-16970 Document #: 96 Filed: 03/13/25 Page 1 of 1 PageID #:913

                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Cuauhtemoc Hernandez, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:23−cv−16970
                                                         Honorable Sunil R. Harjani
Thomas Dart, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 13, 2025:


        MINUTE entry before the Honorable Keri L. Holleb Hotaling: Off−the−record
settlement call with counsel for all parties on 3/13/2025. Due to recent developments in
Walker v. Dart et al, Case No. 1:20−cv−00261 and the status of this case, the virtual
settlement conference scheduled for 3/20/2025 at 1:00 pm would not be fruitful and the
Court hereby strikes the same. The joint status report due on 4/30/2025 is hereby
converted to an IN−PERSON status hearing on 5/1/2025 at 10:00 am in Courtroom 1700
in 219 S. Dearborn, Chicago, Illinois. Expert discovery continues as scheduled in [Dkt.
95].(rbf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
